                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE



 CHARLES CURTIS, et al.,                                )
                                                        )
       Plaintiffs,                                      )
                                                        )
 v.                                                     )      No. 3:06-CV-448
                                                        )      (Phillips)
 ALCOA, INC., Individually and as                       )
 Fiduciary of the Employees’ Group                      )
 Benefits Plan of Alcoa Inc., Plan II,                  )
                                                        )
       Defendant.                                       )




                                  JUDGEMENT ORDER

       Upon consideration of the evidence produced at the nonjury trial held September

 22, 2009 through October 1, 2009, and for the reasons set forth in the findings of fact

 and conclusions of law filed contemporaneously with this order, IT IS ORDERED AND

 ADJUDGED that the plaintiffs take nothing, and that the action be DISMISSED WITH

 PREJUDICE on the merits.

       Dated at Knoxville, Tennessee, this _____ day of March, 2011.


                                          ENTER:



                                                 s/ Thomas W. Phillips
                                               United States District Judge




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